                              Case 4:19-cv-07123-PJH Document 53 Filed 04/23/20 Page 1 of 2



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                    6    Specially Appearing For Third Party
                         KING & SPALDING LLP
                    7

                    8                                    UNITED STATES DISTRICT COURT
                    9                              NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11     WHATSAPP INC., a Delaware                       Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  12     Delaware corporation,                           NOTICE OF APPEARANCE FOR THIRD
                                                                         PARTY
                  13                       Plaintiffs,
                                                                         Judge:       Hon. Phyllis J. Hamilton
                  14     v.

                  15     NSO GROUP TECHNOLOGIES
                         LIMITED and Q CYBER
                  16     TECHNOLOGIES LIMITED,

                  17                       Defendants.

                  18

                  19     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                  20             PLEASE TAKE NOTICE that Joseph P. McMonigle and Jessica R. MacGregor of Long

                  21     & Levit LLP, 465 California Street, Suite 500, San Francisco, California 94104, (415) 392-2222,

                  22     jmcmonigle@longlevit, jmacgregor@longlevit, hereby enter their appearance as counsel for King

                  23     & Spalding for the limited purpose of responding to, appearing and arguing in opposition to

                  24     ***

                  25     ***

                  26     ***

                  27     ***

                  28     ***
LONG & LEVIT LLP
465 CALIFORNIA STREET,                                                                         NOTICE OF APPEARANCE
      5TH FLOOR
    SAN FRANCISCO,                                                                                    4:19-cv-07123-PJH
   CALIFORNIA 94104
                            Case 4:19-cv-07123-PJH Document 53 Filed 04/23/20 Page 2 of 2



                    1    WhatsApp’s to-be-served Motion to Disqualify. The undersigned respectfully request to be

                    2    included via email on the Court’s notification of all electronic filings in this action.

                    3

                    4    Dated: April 23, 2020.                              LONG & LEVIT LLP
                                                                             JOSEPH P. MCMONIGLE
                    5

                    6
                                                                             By:      /s/ Jessica R. MacGregor
                    7                                                              JESSICA R. MACGREGOR
                                                                                   Specially Appearing For Third Party
                    8                                                              KING & SPALDING LLP
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                         4827-6084-9082, v. 1
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LONG & LEVIT LLP
                                                                                                    NOTICE OF APPEARANCE
465 CALIFORNIA STREET,
      5TH FLOOR                                                          -2-
    SAN FRANCISCO,                                                                                         4:19-cv-07123-PJH
   CALIFORNIA 94104
